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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,
Case No, 1:21-cr-00158-DCN
Plaintiff,
SUPERSEDING INDICTMENT
VS.

MICHAEL ROBERT OSBORN, 18 U.S.C. § 1956
LAURA DENISE RUSSELL, 21 U.S.C. § 841 (@){1), (CYC)
TROY THOMAS WHEELER, and 21 U.S.C. § 846
ANGELA MARIE KLINKHAMER, 21 US.C. § 853

Defendants.

The Grand Jury charges:

COUNT ONE

Conspiracy to Distribute Controlled Substances
21 U.S.C, §§ 841(a)(1), (b)(1)(C), and 846

Between October 1, 2019, and continuing thereafter until March 22, 2021, in the District
of Idaho, and elsewhere, the Defendants, MICHAEL ROBERT OSBORN, LAURA DENISE
RUSSELL, TROY THOMAS WHEELER, and ANGELA MARIE KLINKHAMER, knowingly

and intentionally conspired and agreed with each other and other unnamed individuals, to

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comunit the following offenses against the United States: distribution of controlled substances
including alpha-pyrrolidinohexanophenone (a-PHP), a Schedule I controlled substance,
methamphetamine, a Schedule II controlled substance, and heroin, a Schedule I controlled
substance, all in violation of Title 21, United States Code, Sections 841 (a)(1), (b)C1)(C), and 846.

COUNT TWO

Conspiracy to Commit Money Laundering
18 U.S.C. § 1956

Between October 1, 2019, and continuing thereafter until March 22, 2021, in the District
of Idaho, and elsewhere, the Defendants, MICHAEL ROBERT OSBORN, LAURA DENISE
RUSSELL, and ANGELA MARIE KLINKHAMER, knowingly and intentionally conspired and
agreed with each other and other unnamed individuals, to knowingly conduct and attempt to
conduct financial transactions affecting interstate commerce, which in fact involved the proceeds
of specified unlawful activity, that is, the conspiracy to distribute controlled substances, in
violation of Title 21, United States Code, Sections 841 (a)(1), (b)(1)(C), and 846, with the intent
to promote the carrying on of said unlawful activity and knowing that the transaction was
designed in whole or in part to conceal or disguise the nature, the location, the source, the
ownership, and the control of the proceeds of said specified unlawful activity, and while
knowing that the property involved in the financial transactions represented the proceeds of the
specified unlawful activity, in violation of Title 18, United States Code,

Sections 1956(a)(1)(A)(), 1956(a)(1)(B)G), and 1956(h).
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CRIMINAL FORFEITURE ALLEGATIONS

Drug ¥orfeiture
21 U.S.C. § 853

Upon conviction of the offense alleged in Count One of this Superseding Indictment, the
Defendants, MICHAEL ROBERT OSBORN, LAURA DENISE RUSSELL, TROY THOMAS
WHEELER, and ANGELA MARIE KLINKHAMER, shall forfeit to the United States any and
all property, real and personal, tangible and intangible, consisting of or derived from any
proceeds the said Defendants obtained directly or indirectly as a result of the foregoing offense;
and any and all property, real and personal, tangible and intangible, used or intended to be used,
in any mamner or part, to commit, or to facilitate the commission of, the foregoing offense. The

property to be forfeited includes, but is not limited to, the following:

1, Seized Propexty. Approximately 7.83777659 BTC (bitcoin) seized using seed
words beginning with Dilemma and ending with gauge seized on or about January 19, 2021.

2, Unrecovered Cash Proceeds and/or Facilitating Property. The Defendants

obtained and controlled unrecovered proceeds of the offense of conviction, or property derived
from or traceable to such proceeds, and property the Defendants used to facilitate the offense (if
facilitation is alleged), but based upon actions of the Defendants, the property was transferred,
diminished, comingled, or is otherwise unavailable.

3, Substitute Assets. Pursuant to 21 U.S.C. § 853(p) and other applicable statutes,

the government will seek forfeiture of substitute assets, “or any other property of the defendant”
up to the value of the Defendants’ assets subject to forfeiture. The government will do so when
the property subject to forfeiture cannot be forfeited for one or more of the following reasons:

a. Cannot be located upon the exercise of due diligence;

b, Has been transferred or sold to, or deposited with, a third person;

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c. Has been placed beyond the jurisdiction of the court;
d. Has been substantially diminished in value; or
€. Has been commingled with other property which cannot be subdivided
without difficulty.
Money Laundering

18 U.S.C. § 982(a)(1)

Upon conviction of the offense alleged in Count Two of this Superseding Indictment, the
Defendants, MICHAEL ROBERT OSBORN, LAURA DENISE RUSSELL, and ANGELA
MARIE KLINKHAMER, shail forfeit to the United States any property, real or personal,
involved in such offense, and any property traceable to such property. The property to be

forfeited includes, but is not limited to, the following:

1, Seized Property. Approximately 7.83777659 BTC (bitcoin) seized using seed

words beginning with Dilemma and ending with gauge seized on or about January 19, 2021.

2. Unrecovered Cash Proceeds and/or Facilitating Property. The Defendants

obtained and controlled unrecovered proceeds involved in such offense, but based upon actions
of the Defendants, the property was transferred, diminished, comingled, or is otherwise
unavailable.

3, Substitute Assets. Pursuant to 21 U.S.C. § 853(p) and other applicable statutes,

the government will seek forfeiture of substitute assets, “or any other property of the defendant,”
up to the value of the Defendants’ assets subject to forfeiture. The government will do so when
the property subject to forfeiture cannot be forfeited for one or more of the following reasons:

a. Cannot be located upon the exercise of due diligence;

b, Has been transferred or sold to, or deposited with, a third person;

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c. Has been placed beyond the jurisdiction of the court;

d, Has been substantially diminished in value; or

€. Has been commingled with other property which cannot be subdivided
without difficulty.

Dated this 13th day of September, 2022.

A TRUE BILL

/s/ [signature on reverse]

FOREPERSON

JOSHUA D. HURWIT
UNITED STATES ATTORNEY
By: (

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CHRISTORHER S. ATWOOD
ERIN C. BLACKADAR
ASSISTANTS UNITED STATES ATTORNEY

SUPERSEDING INDICTMENT - 5

